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9
                                  UNITED STATES DISTRICT COURT
10
                               NORTHERN DISTRICT OF CALIFORNIA
11
                                           SAN JOSE DIVISION
12
                                                                       *E-FILED - 2/8/06*
13
     UNITED STATES OF AMERICA,                    )       No. CR 05-00734-RMW
14                                                )
             Plaintiff,                           )
15                                                )       STIPULATION REGARDING
        v.                                        )       EXCLUDABLE TIME AND
16                                                )       ORDER
     DESTON EVANS,                                )
17     aka hammer, aka 778889,                    )
                                                  )
18           Defendant.                           )
                                                  )
19
20      It is hereby stipulated and agreed between defendant Deston Evans, and his counsel Jamie
21   Harmon, and the United States as follows:
22      This matter was set for a status conference on February 13, 2006 at 9:00 a.m. In this
23   copyright infringement case, the defense needs more time to prepare, review discovery
24   previously provided, including a substantial amount of digital evidence, and research legal and
25   sentencing issues. Defense counsel has recently completed a four-week trial in state court and
26   needs further time to review plea and sentencing issues.
27      The parties stipulate and move the Court to exclude time under the Speedy Trial Act from the
28   February 13, 2006, until February 27, 2006, because the parties believe that the ends of justice

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1    served by the granting of such a continuance outweigh the best interests of the public and the
2    defendant in a speedy trial, particularly since reasonable time is needed for the defense to prepare
3    for pretrial and trial matters, pursuant to 18 U.S.C. §§ 3161(h)(8)(A), 3161(h)(8)(B)(ii). The
4    parties further stipulate that time may be excluded for reasonable time for defense
5    preparation, since the failure to exclude time would deny counsel for the defendant reasonable
6    time necessary for effective preparation, taking into account the exercise of due diligence,
7    pursuant to 18 U.S.C. §§ 3161(h)(8)(A), 3161(h)(8)(B)(iv).
8       So stipulated.
9    Dated: February __, 2006                              KEVIN V. RYAN
                                                           United States Attorney
10
11                                                         ________________________
                                                           MARK L. KROTOSKI
12                                                         Assistant United States Attorney
13      So stipulated.
14   Dated: February __, 2006
15                                                         ________________________
                                                           JAMIE HARMON
16                                                         Attorney for Defendant Evans
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1                                                  ORDER
2       Based upon the foregoing Stipulation and good cause appearing therefor,
3       IT IS HEREBY ORDERED that the status conference set for February 13, 2006 at 9:00
4    a.m. for defendant Evans shall be continued to February 27, 2005 at 9:00 a.m.
5       IT IS FURTHER ORDERED that the time between February 13, 2006, until February 27,
6    2006 shall be excluded from the computation period within which the trial must commence, for
7    the reasons and based upon the statutory provisions set forth by the parties in this Stipulation,
8    including that time is needed for effective defense preparation.. The Court finds that the ends of
9    justice outweigh the interests of the public and the parties in a speedier trial under 18 U.S.C. §§
10   3161(h)(8)(A), 3161(h)(8)(B)(ii) (complexity), 3161(h)(8)(B)(iv) (reasonable time necessary for
11   effective preparation taking into account the exercise of due diligence).
12                   8 2006
     DATED: February __,
13                                                          /s/ Ronald M. Whyte
                                                           _________________________
                                                           RONALD M. WHYTE
14                                                         United States District Judge
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